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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF NEVADA



UNITED STATES OF AMERICA,              )     2:96-CR-00201-ECR-PAL
                                       )
      Plaintiff,                       )     MINUTES OF THE COURT
                                       )
vs.                                    )     DATE: November 10, 2010
                                       )
JERRY LEE JOHNSTON, JR.,               )
                                       )
      Defendant.                       )
                                       )

PRESENT:        EDWARD C. REED, JR.                         U. S. DISTRICT JUDGE

Deputy Clerk:      COLLEEN LARSEN             Reporter:          NONE APPEARING

Counsel for Plaintiff(s)                       NONE APPEARING

Counsel for Defendant(s)                       NONE APPEARING

MINUTE ORDER IN CHAMBERS

     On November 1, 2010, Defendant filed a “Motion In Forma Pauperis for
Ineffective Assistance of Counsel” (#969) and a “Motion Ineffective
Assistance of Counsel” (#970).

     The motions (## 969 and 970) will be treated as motions pursuant to 28
U.S.C. § 2255 to vacate, set aside, or correct the sentence. The motions are
filed long past the expiration of the statute of limitations in such cases.
The one year statute of limitations provided for in 28 U.S.C. § 2255(f) runs
from the latest of--

      (1) the date on which the judgment of conviction becomes final;
      (2) the date on which the impediment to making a motion created by
      governmental action in violation of the Constitution or laws of
      the United States is removed, if the movant was prevented from
      making a motion by such governmental action;
      (3) the date on which the right asserted was initially recognized
      by the Supreme Court, if that right has been newly recognized by
      the Supreme Court and made retroactively applicable to cases on
      collateral review; or
      (4) the date on which the facts supporting the claim or claims
      presented could have been discovered through the exercise of due
      diligence.
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      This case was closed on December 14, 1998.  The motions assert no
factual or legal bases on which the motions could be considered timely.
Defendant has not shown any basis to waive or toll the statute of
limitations.

     IT IS, THEREFORE, HEREBY ORDERED that Petitioner’s “Motion In Forma
Pauperis for Ineffective Assistance of Counsel” (#969) is DENIED as untimely.

     IT IS FURTHER HEREBY ORDERED that Petitioner’s “Motion Ineffective
Assistance of Counsel” (#970) is DENIED as untimely.




                                                         LANCE S. WILSON, CLERK

                                                         By          /s/
                                                                Deputy Clerk
